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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


THE MAYA GROUP, INC.,

        Plaintiff,                                        Case No.: 1:19-cv-04690

v.                                                        Judge Robert M. Dow, Jr.

THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 302                              Fancy DIY Store
                 377                        ILOVEDIY Beads & Findings Store
                  27                         湖北武汉子欣电子商务有限公司
                  22                                 aa
                 146                             haoweidianpu
                 470                                   Kids365 Store
                 284                          Elfeland Outdoor Lighting Store
                  56                                      kyrene
                  63                                   twinklestarss
                  78                    cocnine282ef150afde11e6b99c061aefb5833a
                 89                                     caxey250lliy
                 90                                       xfvictory
                 95                                     delicacyjeep
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DATED: October 3, 2019               Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
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                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 3, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
